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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
______________________________________________________________________

UNITED STATES OF AMERICA,

                      Plaintiff,
v.
                                                          Case No. 12-20751
WILLIAM MICHAEL HOWARD,

                Defendant.
________________________________/

     ORDER SETTING HEARING ON DEFENDANT’S “EMERGENCY MOTION FOR
                      COMPASSIONATE RELEASE”

        Currently pending before the court is Defendant’s “Emergency Motion for

Compassionate Release.” (ECF No. 33.) The court has reviewed the briefing and

determines that the facts and issues warrant additional argument. Accordingly, the court

will set the motion for hearing. Due to the risks associated with in-person proceedings

as a result of COVID-19, and consistent with the directives outlined in Eastern District of

Michigan to Administrative Order 20-AO-038 (July 2, 2020), the hearing will be

conducted via videoconferencing. The parties should be prepared to address, among

other things, the following topics:

     1) The steps required to fully complete the BOP’s administrative exhaustion process
        for requests for compassionate release;

     2) The status of Defendant’s June 7th and June 17th requests for compassionate
        release in the BOP’s administrative exhaustion process;

     3) Defendant’s post-release plan, including his proposed residence;

     4) The role of the Probation Department in approving and administering this plan;

     5) Any evidence that tends to establish that infection is more likely of less while in
        custody.
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      6) Whether the court is permitted to furlough an inmate to self-isolation, leaving the
         balance of the imposed sentence pending completion after infection danger has
         passed.

            IT IS ORDERED that Defendant’s “Emergency Motion for Compassionate

Release” (ECF No. 33) is set for hearing on August 5, 2020 at 3:00 pm. A Separate

Notice with the ZOOM Webinar information to be issued.



                                                                                     s/Robert H. Cleland               /
                                                                                     ROBERT H. CLELAND
                                                                                     UNITED STATES DISTRICT JUDGE
Dated: July 29, 2020

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, July 29, 2020, by electronic and/or ordinary mail.

                                                                                     s/Lisa Wagner                     /
                                                                                     Case Manager and Deputy Clerk
                                                                                     (810) 292-6522
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